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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

Marilyn Mason
Plaintiff,
vs. No.2:04cv-2727-BV

Memphis City Schools

Defendant.

 

SCHEDULING ORDER

 

Pursuant to written notice, a scheduling telephone conference
was held May 18,2005. Present were Michael G.Floyd, counsel for
plaintiff, and Michael R. Marshall, counsel for defendants. At the
conference, the following dates were established as the final dates
for:

INITIAL DISCLOSURES PURSUANT TO Fed.R.Civ.P. 26(a) (1) : June 1, 2005
JOINING PARTIES: N/A
AMENDING PLEA.DINGS: July 1,r 2005.
INITIAL MOTIONS TO DISMISS: Aug'ust 1,2005
COMPLETING ALL DISCOV'ERY: January 24,2006
(a) DOCU'MENT PRODUCTION: December 1,2005

(b) DEPOSITIONS, INTERROGATORIES AND REQUESTS FOR
ADMISSIONS: January 24,2006

(C) EXPERT WITN'ESS DISCLOSURE (Rule 26}:

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Thes document entered on the docket s %%1;;): nc
With Ruie 58 and!c)r 79(3) FF\CP on .

 

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(1) DISCLOSURE OF PLAINTIFF'S RULE 26 EXPERT
INFORMATION: October 31, 2005

(2) DISCLOSURE OF DEFENDANT’S RULE 26 EXPERT
INFORMATION: November 30, 2005

(3) EXPERT WITNESS DEPOSITIONS: January 24,2006
FILING DISPOSITIVE MOTIONS: March 10,2006
OTHER RELEVANT MATTERS:

No depositions may be scheduled to occur after the discovery
cutoff date. All nmtions, requests for admissions, or other
filings that require a response must be filed sufficiently in
advance of the discovery cutoff date to enable opposing counsel to
respond by the time permitted by the Rules prior to that date.

Motions to compel discovery are to be filed and served by the
discovery deadline or within 30 days of the default or the service
of the response, answer, or objection, which is the subject of the
motion, if the default occurs within 30 days of the discovery
deadline, unless the time for filing of such motion is extended for
good cause shown, or the objection to the default, response,
answer, or objection shall be waived.

This case is set for jury trial, and the trial is expected to
last 4 days. The pretrial order date, pretrial conference date,
and trial date will be set by the presiding judge.

This case is appropriate for ADR. The parties are directed to
engage in court-annexed attorney mediation or private mediation
after the close of discovery.

The parties are reminded that pursuant to Local Rule
ll(a)(l)(A), all motions, except motions pursuant to Fed. R. Civ.
P. 12, 56, 59, and 60 shall be accompanied by a proposed order.

The opposing party may file a response to any motion filed in
this matter. Neither party may file an additional reply, however,
without leave of the court. If a party believes that a reply is
necessaryl it shall file a motion for leave to file a reply
accompanied by a memorandum setting forth the reasons for which a
reply is required.

The parties have not consented to trial before the magistrate
judge.

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This order has been entered after consultation with trial
counsel pursuant to notice.

Absent good cause
scheduling dates set by this

shown, the
extended.

order will not be modified or

IT IS SO ORDERED.

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DIANE K. VESCOVO

UNITED STATES MAGISTRATE JUDGE

DATE: ZHQY 18 BQQ.'§ _. _ ___

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Notice of Distribution

This notice confirms a copy of the document docketed as number 16 in
case 2:04-CV-02727 Was distributed by faX, mail, or direct printing on
May 20, 2005 to the parties listed.

 

 

Michael G. Floyd

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Honorable J. Breen
US DISTRICT COURT

